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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PLAM BEACH DIVISION

                                CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

          Plaintiff,

          v.

  UNITED STATES OF AMERICA,

          Defendant.

  ______________________________/

                         OPPOSITION TO MOTION FOR EXTENSION

          Plaintiff President Donald J. Trump, through his undersigned counsel, respectfully opposes

  The United States’ Motion For A One-Week Extension Of Time Pending Issuance Of The

  Eleventh Circuit’s Mandate (ECF 194), and states as follows:

          1.     The Government filed its Motion after unilaterally setting an overnight deadline for

  counsel to President Trump to provide their position, then filed its Motion before that arbitrarily

  set deadline for response had run. Mot. at § 7.

          2.     The Eleventh Circuit shortened the time to issue the mandate, thereby decreasing

  the already limited time available to President Trump to pursue legal options. Mot. at § 3.

          3.     President Trump opposes modification of the current case management order at this

  time.

          4.     In the alternative, counsel for President Trump can be available for a telephonic

  status conference on Tuesday, December 6, 2022, or anytime thereafter at this Court’s

  convenience.
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                                         CONCLUSION

         For the reasons set forth above, Plaintiff respectfully requests that this Court deny The

  United States’ Motion For A One-Week Extension Of Time Pending Issuance Of The Eleventh

  Circuit’s Mandate.

  Dated: December 2, 2022                            Respectfully submitted,

                                                     /s/ Lindsey Halligan
                                                     Lindsey Halligan
                                                     Florida Bar No. 109481
                                                     511 SE 5th Avenue
                                                     Fort Lauderdale, FL 33301
                                                     Email: lindseyhalligan@outlook.com

                                                     James M. Trusty
                                                     Ifrah Law PLLC
                                                     1717 Pennsylvania Avenue NW
                                                     Suite 650
                                                     Washington, D.C. 20006
                                                     Telephone: (202) 524-4176
                                                     Email: jtrusty@ifrahlaw.com

                                                     M. Evan Corcoran
                                                     SILVERMAN | THOMPSON |
                                                     SLUTKIN | WHITE, LLC
                                                     400 East Pratt Street, Suite 900
                                                     Baltimore, MD 21202
                                                     Telephone: (410) 385-2225
                                                     Email: ecorcoran@silvermanthompson.com

                                                     Counsel for President Donald J. Trump




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 2, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                                      /s/ Lindsey Halligan
                                                      Lindsey Halligan




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